                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
IN RE:                                                     : CASE NO. 5-15-02915-JJT
                                                           :
THOMAS J. KOOP,                                            : CHAPTER 7
                                                           :
                           DEBTOR.                         :
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

             TRUSTEE’S SUPPLEMENT TO TRUSTEE’S FINAL REPORT


       The Chapter 7 Trustee’s Final Report (Doc. #41), filed on November 14, 2018, was

inadvertently filed by the United States Trustee without the Chapter 7 Trustee’s Request

for Compensation and time and expense records attached and, accordingly, are attached

herewith and submitted as a supplement to the Trustee’s Final Report.



                                             LAW OFFICES OF MARK J. CONWAY, P.C.


                                              /s/ Mark J. Conway
                                             MARK J. CONWAY, ESQ.
                                             502 South Blakely Street
                                             Dunmore, PA 18512
                                             (570) 343-5350

                                             Counsel for Chapter 7 Trustee

Dated: November 15, 2018




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                         IN THE UNITED STATES BANKRUPTCY COURT
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::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
IN RE:                                                     : CASE NO. 5-15-02915-JJT
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THOMAS J. KOOP,                                            : CHAPTER 7
                                                           :
                           DEBTOR.                         :
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::


                                CERTIFICATE OF SERVICE


       I, Constance Norvilas, Paralegal, hereby certify that on this 15th day of November,

2018, I electronically filed the foregoing with the Clerk of the Bankruptcy Court using the

CM/ECF system which sent notification of such filing to the following Filing Users at the

following e-mail addressed:

                                        U.S. Trustee
                                     Middle District of PA
                                      228 Walnut Street
                                         Room 1190
                                 Harrisburg, PA 17101-1722
                               ustpregion03.ha.ecf@usdoj.gov


                                             LAW OFFICES OF MARK J. CONWAY, P.C.


                                             /s/ Constance Norvilas
                                             Constance Norvilas, Paralegal
                                             502 South Blakely Street
                                             Dunmore, PA 18512
                                             Phone (570) 343-5350
                                             Fax (570) 343-5377




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Printed: 09/28/18 11:24 AM             Trustee's Compensation
Debtor: KOOP, THOMAS J.                                                          Case: 5-15-02915-JT
 Computation of Compensation
    Total disbursements to other than the debtor are:                                                   12,935.70
    Pursuant to 11 U.S.C. 326, compensation is computed as follows:
        25% of First $5,000                                         5,000.00 =                           1,250.00
        10% of Next $45,000                                         7,935.70 =                             793.57
          5% of Next $950,000                                           0.00 =                               0.00
          3% of Balance                                                 0.00 =                               0.00

                                                    Calculated Total Compensation:                      $2,043.57
                                                                    Plus Adjustment:                         0.00
                                                                 Total Compensation:                    $2,043.57
                                                                  Less Previously Paid:                      0.00
                                                    Total Compensation Requested:                       $2,043.57
 Trustee Expenses
    Premium on Trustee's Bond                                                                                0.00
    Travel                            0.0 miles at 0.0 cents per mile                                        0.00
    Copies                            0 copies at 0.0 cents per copy                                         0.00
    Postage                                                                                                  0.00
    Telephone Charges                                                                                        0.00
    Clerical / Secretarial            0.00 hours at 0.00 dollars per hour                                    0.00
    Paralegal Assistance              0.00 hours at 0.00 dollars per hour                                    0.00
    Supplies / Stationery                                                                                    0.00
    Distribution Expenses                                                                                    0.00
    Professional Expenses                                                                                    0.00
    Other Expenses                                                                                         109.49
    Other Expenses 2                                                                                         0.00
                                                                  Subtotal Expenses:                      $109.49
                                                                     Plus Adjustment:                        0.00
                                                                     Total Expenses:                      $109.49
                                                                  Less Previously Paid:                      0.00
                                                          Total Expenses Requested:                       $109.49

    The undersigned Trustee certifies under penalty of perjury that the foregoing is true and correct to the best of
his/her knowledge and requests the United States Trustee to approve this report and accounts and requests the
Court to provide for notice and opportunity for a hearing under 11 U.S.C. 330(a), 502(b), and 503(b) and to
thereafter award final compensation or reimbursement of expenses and to make final allowance for the purposes
of distribution to claims, administrative expenses, and other payments stated in this report and account.

    WHEREFORE, the Trustee requests that this application be approved by this Court and that the Trustee be
granted an allowance of $2,043.57 as compensation and $109.49 for reimbursement of expenses. The Trustee
further states that no payments have been made or promised to him/her for services rendered or to be rendered
in any capacity in this case. No agreement or understanding exists between applicant and any other person for
sharing compensation received or to be received.

Dated: 09/28/18                                             /S/MARK J. CONWAY
                                                   Signed:_________________________________________
                                                    MARK J. CONWAY, CHAPTER 7 TRUSTEE
                                                    502 SOUTH BLAKELY STREET

                                                    DUNMORE, PA 18512
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